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                  Date Check   Date Check
   Bank Name       Written       Posted   Check #              Check To                                       Notes on Check        Amount      Processor on back of Check
Bank of America    9/13/2016    9/19/2016     548   OPP                           Processing Center                                     9.00   Opportunities Management
Bank of America    9/19/2016    9/23/2016     553   ASP                           Processing Fee                                       12.00   Opportunities Management
Bank of America    9/20/2016    9/23/2016     552   Intrnl Award Payment Center                                                         9.00   Opportunities Management
Bank of America    9/21/2016    9/27/2016     555   National Bureau               Purchasing Fee                                       19.95   Opportunities Management
Bank of America    9/22/2016    9/29/2016     560   ASP                           Processing                                           12.00   Opportunities Management
Bank of America    9/27/2016    10/3/2016     566   IAPC                          Judging Fees                                         40.00   Opportunities Management
Bank of America    9/30/2016    10/6/2016     570   EAC                           Advancement                                          12.00   Opportunities Management
Bank of America    9/30/2016    10/6/2016     572   IAPC                          Judging                                              20.00   Opportunities Management
Bank of America    10/1/2016    10/6/2016     573   CAP                                                                                10.00   Opportunities Management
Bank of America    10/4/2016   10/10/2016     580   CAP                           Prize Vault II                                       10.00   Opportunities Management
Bank of America    10/5/2016   10/11/2016     581   SRC                                                                                12.00   Opportunities Management
Bank of America    10/5/2016   10/12/2016     582   ANC                           for Delivery                                         11.89   Next Gen Inc
Bank of America    10/6/2016   10/10/2016     587   IAPC                          Registration                                          9.00   Opportunities Management
Bank of America    10/6/2016   10/10/2016     588   NAAC                                                                                9.00   Opportunities Management
Bank of America    10/6/2016   10/13/2016     589   ASP                           Processing Fee                                       12.00   Opportunities Management
Bank of America    10/6/2016   10/10/2016     590   OPP                           Registration Dept                                     9.00   Opportunities Management
Capitol One       10/19/2016   10/25/2016   1993    OPP                                                                               $25.00   Opportunities Management
Bank of America   10/19/2016   10/24/2016     591   IAPC                                                                               20.00   Opportunities Management
Bank of America   10/20/2016   10/25/2016     593   ASP                                                                                12.00   Opportunities Management
Capitol One       10/24/2016   10/28/2016   1998    CAP                           Prize Vault II Competition                          $10.00   Opportunities Management
Capitol One       10/24/2016   10/28/2016   1997    OPP                           Registration Fee                                     $9.00   Opportunities Management
Bank of America   10/24/2016   10/28/2016     594   SRC                           Purchasing Fee                                       12.00   Opportunities Management
Capitol One       10/26/2016    11/1/2016   2002    CAP                           Game 2                                              $40.00   Opportunities Management
Bank of America   10/26/2016   10/31/2016     595   OPP                           Tiebreaker I Document                                40.00   Opportunities Management
Bank of America    11/1/2016    11/7/2016     597   CAP                           Registration Fee                                     10.00   Opportunities Management
Bank of America    11/1/2016    11/7/2016     598   IAPC                          Registration Fee                                      9.00   Opportunities Management
Bank of America    11/1/2016    11/7/2016     599   CAP                           $10,000 Grand Prize - Plus Upgrade $3,000 More       25.00   Opportunities Management
Bank of America    11/1/2016    11/7/2016     600   OPP                           Answer 3 questions-bonus $3,500 more                 45.00   Opportunities Management
Bank of America    11/1/2016    11/7/2016     601   OPP                           Registration Fee                                      9.00   Opportunities Management
Bank of America    11/2/2016    11/7/2016     602   IAPC                          Award Payment Center                                  9.00   Opportunities Management
Bank of America    11/2/2016    11/7/2016     603   NAAC                          Level 2                                              15.00   Opportunities Management
Bank of America    11/2/2016    11/7/2016     604   NAAC                          Final Step!!                                         10.00   Opportunities Management
Bank of America    11/2/2016    11/7/2016     605   OPP                           Money Matrix X                                        9.00   Opportunities Management
Bank of America    11/2/2016    11/7/2016     606   IAS                           Delivery Fee                                         12.99   Next Gen Inc
Bank of America    11/2/2016    11/7/2016     607   EAC                           Registration Fee                                     12.00   Opportunities Management
Bank of America    11/3/2016    11/8/2016     608   IAPC                          Blue Series XIII                                     45.00   Opportunities Management
Bank of America    11/3/2016    11/8/2016     609   IAPC                          Tiebreaker I -Semi Finalist                          40.00   Opportunities Management
Bank of America    11/5/2016   11/10/2016     610   CAP                           Prize Vault II:Tiebreaker                            40.00   Opportunities Management
Bank of America    11/5/2016   11/10/2016     611   CAP                           Registration Fee                                     10.00   Opportunities Management
Bank of America    11/5/2016   11/10/2016     612   IAPC                          IAPC 1080                                             9.00   Opportunities Management
Bank of America    11/5/2016   11/10/2016     613   NAAC                          Registration Fee                                      9.00   Opportunities Management
Bank of America    11/5/2016   11/10/2016     614   OPP                           Nomination Complete                                   9.00   Opportunities Management
Bank of America    11/5/2016   11/15/2016     615   ANC                           delivery of merchandise                              23.89   Next Gen Inc
Bank of America    11/5/2016    12/9/2016     686   NAAC                          $21,000 - # cash prizes                               9.00   Opportunities Management
Bank of America    11/5/2016    12/9/2016     687   NAAC                          Level 2: Capital Prize Reserve VII Tiebreaker I      40.00   Opportunities Management



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Bank of America    11/7/2016   11/10/2016    618   ANC           for Delivery                                 11.89   Next Gen Inc
Bank of America    11/8/2016   11/15/2016    621   SRC           Purchasing Fee                               12.00   Opportunities Management
Bank of America    11/8/2016   11/14/2016    622   CAP           Registration Fee                             10.00   Opportunities Management
Bank of America    11/8/2016   11/14/2016    623   CAD                                                        11.89   Next Gen Inc
Bank of America    11/9/2016   11/14/2106    624   IAPC          Registration Fee                             12.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    626   CAP           Tiebreaker                                   40.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    628   IAPC          Registration Fee                             12.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    629   OPP           Tiebreaker I                                 40.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    630   CAP           Prize Vault II - Tiebreaker I                40.00   Opportunities Management
Bank of America   11/13/2016   11/18/2016    631   ANC           Delivery                                     12.99   Next Gen Inc
Bank of America   11/13/2016   11/17/2016    632   CAP           Prize Vault II                               10.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    633   IAPC          Blue Series XIII                             40.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    634   OPP           Vault III:Tiebreaker II                      45.00   Opportunities Management
Bank of America   11/13/2016   11/17/2016    635   OPP           Registration Fee                              9.00   Opportunities Management
Bank of America   11/14/2016   11/17/2016    636   IAPC          Series X - Tiebreaker I                      40.00   Opportunities Management
Bank of America   11/14/2016   11/17/2016    637   IAPC          Tiebreaker I: Gold Level                     25.00   Opportunities Management
Bank of America   11/14/2016   11/21/2016    641   ANC           for Delivery                                 12.99   Next Gen Inc
Bank of America   11/14/2016   11/18/2016    642   IAPC          IAPC 1080 Blue Series                        12.00   Opportunities Management
Bank of America   11/14/2016   11/18/2016    643   IAPC          Blue Series XIII                             45.00   Opportunities Management
Bank of America   11/14/2016   11/18/2016    644   IAPC          Blue Series XIII - Tiebreaker                40.00   Opportunities Management
Bank of America   11/16/2016   11/21/2016    645   NAAC          Capital Reserve VII - Tiebreaker I           40.00   Opportunities Management
Bank of America   11/16/2016   11/21/2016    646   NAAC          Level 2 Reserve VII Tiebreaker I             40.00   Opportunities Management
Bank of America   11/16/2016   11/22/2016    647   CAP           Vault 2 Prize Vault II Tiebreaker I          40.00   Opportunities Management
Bank of America   11/16/2016   11/21/2016    651   EAC           Mandatory Tiebreaker I                       40.00   Opportunities Management
Bank of America   11/16/2016   11/21/2016    652   OPP           Treasure Vault III H6TI                      40.00   Opportunities Management
Bank of America   11/16/2016   11/21/2016    653   NAAC          Reserve VII Tiebreaker I                     40.00   Opportunities Management
Bank of America   11/17/2016   11/23/2016    655   IAS           Delivery Fee                                 15.99   Next Gen Inc
Bank of America   11/17/2016   11/21/2016    656   EAC           Registration Fee                             12.00   Opportunities Management
Capitol One       11/21/2016   11/28/2016   2008   NAAC          Triple Cash Series VII Game 2               $40.00   Opportunities Management
Capitol One       11/21/2016   11/28/2016   2009   NAAC          Triple Cash Series VII Final Step           $10.00   Opportunities Management
Capitol One       11/21/2016   11/29/2016   2007   CAP           Prize Express IV - Game 1 Tiebreaker 1      $40.00   Opportunities Management
Capitol One       11/21/2016   11/26/2016   2010   IAPC          Cash Enrichment Series X - Tiebreaker 1     $40.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    657   CAD           required to fulfill delivery                 12.99   Next Gen Inc
Bank of America   11/21/2016   11/29/2016    658   CAP           Break the Bank IV                            10.00   Opportunities Management
Bank of America   11/21/2016   11/28/2016    659   EAC           Registration Fee                              9.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    660   CAP           Vault 3: Prize Vault II Tiebreaker I         40.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    661   IAS           fee to send check                            11.89   Next Gen Inc
Bank of America   11/21/2016   11/29/2016    662   CAP           Vault I - Prize Vault II Tiebreaker I        15.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    663   CAP           Upgrade Presentations Tiebreaker I Game 2    40.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    664   CAP           Vault 3 : Prize Vault II Tiebreaker I        40.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    665   CAP           Registration Fee Prize Express IV            10.00   Opportunities Management
Bank of America   11/21/2016   11/29/2016    666   SRC           Purchasing Fee                               12.00   Opportunities Management
Capitol One        12/3/2016    12/6/2016   2014   EAC           Tiebreaker I                                $40.00   Opportunities Management
Capitol One        12/3/2016    12/6/2016   2015   IAPC          Award VII                                    $9.00   Opportunities Management
Capitol One        12/3/2016    12/8/2016   2020   NAAC                                                      $40.00   Opportunities Management
Capitol One        12/3/2016    12/8/2016   2018   IAPC          Bonus Cash Upgrade                          $20.00   Opportunities Management
Capitol One        12/3/2016    12/8/2016   2016   CAP           Break the Bank IV Competition               $10.00   Opportunities Management



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Capitol One        12/3/2016    12/8/2016   2022   CAP           Admission Form & Prize Vault II           $10.00   Opportunities Management
Capitol One        12/3/2016    12/8/2016   2023   OPP           Money Motion X                             $9.00   Opportunities Management
Capitol One        12/3/2016    12/8/2016   2019   OPP           Registration Fee                           $9.00   Opportunities Management
Capitol One        12/3/2016    12/9/2016   2021   CAD           Pay for to fullfill delivery              $12.99   Next Gen Inc
Capitol One        12/3/2016   12/12/2016   2017   CAD           Processing                                $11.89   Next Gen Inc
Bank of America    12/4/2016    12/8/2016    679   CAP           Game 1 - Prize Express IV Tiebreaker I     40.00   Opportunities Management
Bank of America    12/4/2016    12/9/2016    680   IAPC          Registration Fee                            9.00   Opportunities Management
Capitol One        12/5/2016    12/8/2016   2025   CAP           Tiebreaker I - Game 1                     $40.00   Opportunities Management
Capitol One        12/5/2016    12/9/2016   2026   IAPC          Series X Bonus Cash W6B                   $45.00   Opportunities Management
Bank of America    12/5/2016   12/12/2016    683   NAAC          Triple Cash Series VII ELS Final Step      10.00   Opportunities Management
Bank of America    12/5/2016   12/12/2016    684   SRC           pay to send jewerly 04EF8                  12.00   Opportunities Management
Bank of America    12/5/2016    12/9/2016    685   IAPC          For prize Judging and registration          9.00   Opportunities Management
Bank of America    12/5/2016    12/9/2016    689   CAP           Qualification Question                     10.00   Opportunities Management
Capitol One       12/12/2016   12/16/2016   2033   EAC           Mandatory Tiebreaker I - Dash Cash IV     $40.00   Opportunities Management
Capitol One       12/12/2016   12/16/2016   2032   IAPC          Platinum Level                            $40.00   Opportunities Management
Capitol One       12/12/2016   12/12/2016   2030   NAAC          Triple Cash Series VII - Game 2           $40.00   Opportunities Management
Capitol One       12/12/2016   12/16/2016   2029   NAAC          Triple Cash Series VII - ELS              $10.00   Opportunities Management
Capitol One       12/12/2016   12/16/2016   2031   IAPC          IAPC 1080 Blue Series XIII                 $9.00   Opportunities Management
Capitol One       12/12/2016   12/20/2016   2027   CAD           Acceptance and Authentication             $35.99   Next Gen Inc
Capitol One       12/12/2016   12/20/2016   2028   IACP          Registration Fee                          $12.00   Opportunities Management
Bank of America   12/12/2016   12/16/2016    692   IAPC          Tiebreaker II Blue Series XIII             45.00   Opportunities Management
Bank of America   12/12/2016   12/16/2016    693   CAP           Prize Express IV Game 2 Tiebreaker I       40.00   Opportunities Management
Bank of America   12/12/2016   12/16/2016    694   CAP           Tiebreaker I Game 2                        40.00   Opportunities Management
Bank of America   12/12/2016   12/16/2016    695   OPP           Tiebreaker judging fee Money Motion X      40.00   Opportunities Management
Bank of America   12/12/2016   12/16/2016    696   OPP           Registration slip                           9.00   Opportunities Management
Capitol One       12/13/2016   12/19/2016   2034   OPP           Treasure Vault III - Tiebreaker II        $45.00   Opportunities Management
Capitol One       12/13/2016   12/19/2016   2036   CAP           Vault 3: Prize Vault II - Tiebreaker I    $40.00   Opportunities Management
Capitol One       12/13/2016   12/19/2016   2035   EAC           Cash Connection VI (6)                    $20.00   Opportunities Management
Capitol One       12/13/2016   12/21/2016   2037   CAD           Payment to send check to me               $34.99   Next Gen Inc
Bank of America   12/13/2016   12/16/2016    697   OPP           Money Motion X Tiebreaker II               45.00   Opportunities Management
Bank of America   12/13/2016   12/19/2016    698   EAC           Cash Connection VI Registration Fee        12.00   Opportunities Management
Bank of America   12/13/2016   12/19/2016    699   IAPC          Award VII Contest Registration              9.00   Opportunities Management
Bank of America   12/13/2016   12/19/2016    700   OPP           Treasure Vault III Tiebreaker II           45.00   Opportunities Management
Capitol One       12/14/2016   12/19/2016   2038   OPP           Tiebreaker I - Treasure Vault IV          $40.00   Opportunities Management
Bank of America   12/14/2016   12/19/2016    221   NAAC          Play for 3 prizes $21,000                   9.00   Opportunities Management
Bank of America   12/14/2016   12/19/2016    222   IAPC          Semi-Final Tiebreaker II                   45.00   Opportunities Management
Bank of America   12/14/2016   12/19/2016    223   EAC           Dash to Cash IV Tiebreaker II              45.00   Opportunities Management
Bank of America   12/14/2016   12/20/2016    224   CAP           Tiebreaker I - Game I                      40.00   Opportunities Management
Bank of America   12/14/2016   12/19/2016    225   OPP           Judges Advice                               9.00   Opportunities Management
Bank of America   12/14/2016   12/20/2016    227   ANC           Payment to have check sent                 26.95   Next Gen Inc
Bank of America   12/14/2016   12/20/2016    228   CAD           Entry Verificiation                        12.99   Next Gen Inc
Bank of America   12/15/2016   12/19/2016    226   NAAC          Triple Cash Series VII Game 1              40.00   Opportunities Management
Bank of America   12/15/2016   12/22/2016    229   CAP           Registration Fee                           10.00   Opportunities Management
Bank of America   12/15/2016   12/22/2016    230   IAPC          Series XI - Tiebreaker I                   40.00   Opportunities Management
Bank of America   12/16/2016   12/22/2016    232   IAPC          Cash Enrichment Series XI                   9.00   Opportunities Management
Bank of America   12/16/2016   12/22/2016    236   ANC           Premium Offer Purchase                     14.79   Next Gen Inc
Bank of America   12/16/2016   12/20/2016    237   CAP           Vault 3: Vault II Tiebreaker II            25.00   Opportunities Management



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